Case: 3:21-cv-00432-jdp Document #: 1-1 Filed: 07/05/21 Page 1 of 31




                                                          EXHIBIT A
                           Case: 3:21-cv-00432-jdp Document #: 1-1 Filed: 07/05/21 Page 2 of 31
                         Case 2021CV000132                      Document 1               Filed 06-10-2021                 Page 1 of 1
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   STATE OF WISCONSIN                                            CIRCUIT COURT                                       DOUGLAS                      06-10-2021
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   Cheryl Shockley vs. CreditBox.com LLC et al                                                Electronic Filing
                                                                                                                                                  Douglas County, WI
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                  Circuit Court office. The electronic filing system is designed to allow fo!:,-fas~liab le e)cthar:lge
                  of documents in court cases.                                        ~\
                  Parties who register as electronic parties can file, receive ana-:-v.i~w docµments ~~hrough
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                  the court electronic filing website. A document filed electrpfiically has the:Same legal effect as
                  a document filed by traditional means. Electronic p~_rties ij}~ resp~nsible f6r serving
                  non-electronic parties by traditional means.        \~~

                 You may also register as an electronie~ ~1olloWirfg" tlle instructions found at
                 http://efiling.wicourts.gov/ an(lmay\~ithd raw\ as 1a1n electronic party at any time. There is a
                 $20.00 fee to register as an ~lefctfonic p~rty. THii f~~ may be waived if you file a Petitio_n for
                 Waiver of Fees and Cos_t~ Aff.id_ayit,of.>lndjge.1:19V(CV-410A) and the court finds you are
                 indigent under :81~_(9;',,~6~\ ~tutes?"
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                 Uri~~~✓~G   register as an electronic party, you will be served with traditional paper documents
                 by otner parties and by the court, You must file and serve traditional paper documents.

                 Registration is available to attorneys, self-represented individuals, and filing agents who are
                 authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                 agency, corporation, or other group. Non-attorney individuals representing the interests of a
                 business, such as garnishees, must file by traditional means or through an attorney or filing
                 agent. More information about who may participate in electronic filing is found on the court
                 website.

                 If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                 715-395-1203.

                                                                                    Douglas County Circuit Court
                                                                                    Date: June 11, 2021




GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                                   §801.18(5l(d), Wisconsin Statutes
                                                 This form shall not be modified, It may be supplemented with addltlonal material.
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STATE OF WISCONSIN                                            CIRCUIT COURT                                       DOUGLAS            06-10-2021
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Cheryl Shockley vs. CreditBox.com LLC et al                                                Electronic Filing                         Douglas County, WI
                                                                                                Notice
                                                                                                                                     2021CV000132
                                                   Case No. 2021CV000132
                                                   Class Code: Money Judgment



                                 CLARITY SERVICES, INC.
                                 PO BOX 5717
                                 CLEARWATER FL 33758




                                                                                                                                       D
                Case number 2021CV000132 was electronically filed with/converted by the Douglas County
                Circuit Court office. The electronic filing system is designed to allow for fast, reliable exchange



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                of documents in court cases.




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                Parties who register as electronic parties can file, receive and view documents online through
                the court electronic filing website. A document filed electronically has the same legal effect as




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                a document filed by traditional means. Electronic parties are responsible for serving
                non-electronic parties by traditional means.




                                                                                 D A
                You may also register as an electronic party by following the instructions found at
                http://efiling.wicourts.gov/ and may withdraw as an electronic party at any time. There is a
                $20.00 fee to register as an electronic party. This fee may be waived if you file a Petition for
                Waiver of Fees and Costs Affidavit of Indigency (CV-410A) and the court finds you are



                                                       E
                indigent under §814.29, Wisconsin Statutes.




                                                     R
                If you are not represented by an attorney and would like to register an electronic party, you
                will need to enter the following code on the eFiling website while opting in as an electronic




                       N
                party.

                Pro Se opt-in code: 1e7f4e



                     U
                Unless you register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                715-395-1203.

                                                                                    Douglas County Circuit Court
                                                                                    Date: June 11, 2021




GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                        §801.18(5)(d), Wisconsin Statutes
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 STATE OF WISCONSIN, CIRCUIT COURT, DOUGLAS                                                                    COUNTY
                                                                                                                                        Clerk of Court
                                                                                                                                        Douglas County, WI
 Cheryl Shockley                                                                              D Amended                                 2021CV000132
 -vs-                                                                Petition for Waiver of Fees and Costs
                                                                              Affidavit of lndigency
 CreditBox.com, LLC.
                                                                         Case No. =20=2~•~-C~V~----


 UNDER OATH, I STATE THAT because of poverty, I am unable to pay l8l any filing and service fees, including the
 electronic filing fee, or [8J transcript fees                                                                          , in
 this action, proceeding, or appeal, or to give security for those fees, and request waiver of those fees. I am attaching a
 copy of my pleading in this matter.

                            Complete Section 1 if you receive aid from any of the programs listed.
                                    If you do not receive aid, complete Section 2 only.

I Section 1.
 l8J    I currently receive
 D      Supplemental security income.             D Relief funded under§59.53(21), Wis. Stats.          D Medical assistance.
 D      Food stamps/FoodShare.                    D Relief funded under public assistance.
 D      Benefits for veterans under §45.40 (1 m) or 38 USC 501-562.
 D      Legal representation from a civil legal services program or a volunteer attorney program based on indigency.
        Name of p r o g r a m : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 0      Other means-tested public assistance: Energy Assistance - see attached Sept. 2. 2020 approval letter
 My financial situation      D has IZ! has not                 changed since I became eligible for this program.
 If youchecked the "has" box, and such changes would make you ineligible for the program(s) if you applied today, you
 must complete Section 2.


I Section 2.
 1.           D     am         D     am not            married.

 2.           D     am         D     am not           employed. Name of employer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 3.       I earn [Gross pay] $ _ _ _ _ _            D weekly.      D every 2 weeks.                              D twice monthly.              D monthly.
          My take-home pay [after taxes and deductions] is $ _ _ _ _ per pay period.

 4.       I receive gross monthly income totaling the amount of$ _ _ _ from
          D    Pension         D     Social security                  D      Unemployment compensation
          D    Disability      D     Student loans/grants             D      Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 5.       I have the following cash assets:
          D   Savings accounts:                $ _ _ _ _ _ __                         D Cash:                   $ _ _ _ _ _ __
          D   Checking accounts:               $ _ _ _ _ _ __                         D Money owed me:          $ _ _ _ _ _ _ __

 6.       I have the following other assets:
          D   Vehicle-Yr./Make: _ _ _ _ _ _ $ _ _ _ __                D Household furnishings:                                       $ _ _ _ __
          D   Vehicle-Yr./Make: _ _ _ _ _ _ $ _ _ _ __                D Equity in real estate:                                       $ _ _ _ __
          D   Other individual assets valued over $200 each: _ _ _ _ _ _ _ _ _ _ _ _ __                                              $ _ _ _ __

 7.       My household consists of myself and _ _ _ _ _ _ _ others:
          Full name:                           Relationship to me: _ _ _ _ _ __                                    Underage       18 □ Yes □ No
          Full name:                           Relationship to me: _ _ _ _ _ __                                    Under age      18 D Yes □ No
          Full name:                           Relationship to me: _ _ _ _ _ __                                    Under age      18 D Yes □ No
          Full name:                           Relationship to me: _ _ _ _ _ __                                    Under age      18 D Yes □ No
          Full name:                           Relationship to me: _ _ _ _ _ __                                    Under age      18 D Yes □ No
 8.       The other members of my household have gross monthly income totaling the amount of $ _ _ _ _ _ from
 CV-41 0A, 05/20 Petition for Waiver of Fees and Costs -Affidavit of lndigency                             §§757.675(3), 757.69(2m), and 814.29, Wisconsin Statutes
                                      This form shall not be modified. It may be supplemented with additional material.
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                     3:21-cv-00432-jdp   3     Filed
                                                   #:06-10-2021
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                                                                                                             Page 2 Page
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          D Wages        D Social security      O Relief funded under public assistance O Food stamps/FoodShare
          D   Pension    D Student loans/grants D Unemployment compensation             O Supplemental security Income
          D   Dlsablllty D Relleffunded under §59.53(21), Wisconsin Statutes            D Support/maintenance
          D   Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

9.        I have the following debts:                  Amount:                            Monthly Payment:
          a. Mortgage/Rent                             $                                  $
          b. Auto loan                                 $                                  $
          C,   Credit cards                            $                                  $
          d. Other:                                    $                                  $
          e.                                           $                                  $
10.       I have the following unusual expenses, other than ordinary living expenses:



                                                                                      I understand that ff.my financial situation changes,
State of       1,J rs
                   c.0A1.5r. tJ                                                       I must tlfy the court immediate .
County of     b ou bL-A S
Subscribed ::::?rn to before me on                    ob I to /iiQde(                 ►
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      .                    Nolal'f Public/Court Officlalk:if,e
                                                                                      Chezyl Shockley
                                                                                                               Print or Type Name
                             Name Printed or Typed
My commission/term expires:                o~/;;;;J,1/ /,;;_o ;;:z.s-                                             Date of Birth
                                              7/
D This notarial act Involved the use of communication technology.



                                JASEN WILLIAM KESKE              I
                                    Notary Public
                                  State of Wisconsin
                                                                 I




CV-410A, 06/20 Pelltlon for Waiver or Fees and Costs -Affidavit or lndlgency                             §§767,675(3). 757.69(2m), and 814.29, Wisconsin Statutes
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                  3:21-cv-00432-jdp   3    Filed
                                              #: 06-10-2021
                                                 1-1 Filed:                                                                                                                 Page 3Page
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DOUGLAS CO DHHS
WISCONSIN HOME ENERGY ASSISTANCE PROGRAM
1316 N 14TH ST STE 400
SU PERIOR WI 54880-1779

                                                                                                                                                                                                 WISCONSIN
                                                                                                                                                                                        Division of Energy Housing and
(715) 395-1651                                                                                                                                                                               Community Resources
                                                                                                                                                                                        http://homeenergyplus.wi.gov


•
CHERYL SHOCKLEY
6604 E WEBB RD
SOUTH RANGE WI 54874-8774




Wednesday, September 2, 2020                                                                                                                                                                                                 Person 1r.,..,                        ] Ill
Dear CHERYL SHOCKLEY,
Your application for the Wisconsin Home Energy Assistance Program has been processed with the payments listed
below.



 Based on your application you have been awarded the following benefits:
·Acti.v1iy·············································· ·ve~d~·i)Re~·ipi";·~1:·················~············-·····························································"[A~~u~t·····rRe;uii"......................."J
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!Crisi        lli§lk "(9/1/2020)- Emergency-A~i~tance Paymeirt_____                                                                                                                                                                                                        j
r···············..···········................................... lSUPERIOR. WATER .LIGHT .&..POWER··co .[(71.5) .355- ··········r··~                                                                                                 e~i·t~\i~~d~~·······i
!                                                             15984]                                                                                                                                  !                         I                                          ;
l,...........................................................................................................................................................................................................
                                                                  j                                                           ~-                                                Total Benefi1l ~
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Sincerely, --
The Wisconsin Home Energy Assistance Program
                     Case 2021CV000132
                        Case:             DocumentDocument
                               3:21-cv-00432-jdp   4    Filed
                                                           #: 06-10-2021
                                                              1-1 Filed:                                         Page 1Page
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                                                                                                                                           06-10-2021
                                                                                                                                           Clerk of Court
     BY THE COURT:
                                                                                                                                           Douglas County, WI
     DATE SIGNED: June 11, 2021                                                                                                            2021CV000132

                                       Electronically signed by Rebecca J Lovejoy
                                                  Court Commissioner




STATE OF WISCONSIN                                                 CIRCUIT COURT                                                              DOUGLAS COUNTY


Cheryl Shockley vs. CreditBox.com LLC et al                                              Order on Petition for
                                                                                         Waiver of Fees and
                                                                                                Costs
                                                                                                                  Case No:

THE COURT FINDS AND ORDERS:

This petition is


         □
         X 1. GRANTED because the court finds the requestor is currently indigent. The action may be commenced or defended
              without payment of filing fees, including the electronic filing fee. The sheriff shall serve all necessary documents
               without payment of service fees. The requestor may be required to pay these fees if the court later determines the
               requestor has the ability to pay.
         □ requestor has the ability to pay.
            2. GRANTED for waiver of ______. The requestor may be required to pay fees if the court later determines the


         □ 3. DENIED     because the court finds the requestor is not indigent, but is currently not able to pay filing or service fees.
               This action may be filed by the Clerk and all necessary documents may be served by the sheriff without prepayment
               of fees. Such fees must be paid no later than ______.
         4. DENIED because the court finds:
               □ requestor   is not indigent.
                                              □  the allegation of poverty to be untrue.
               □ requestor   is a prisoner and is required to use form CV-438 or CV-440.
               □ [Brief Explanation] ______
                   requestor has not stated a meritorious claim, defense, or appeal upon which the court may grant relief:


                □  Other: ______

DISTRIBUTION:
1. Original- Clerk of Circuit Court




CV-410B(CCAP), 05/2017 Order on Petition for Waiver of Fees and Costs                                                 §757.675(3), 757.69(2m), and 814.29, Wisconsin Statutes
                                              This form shall not be modified. It may be supplemented with additional material.
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        Case:             DocumentDocument
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                                              1-1 Filed:               Page 1Page
                                                                  07/05/21    of 21 8 of 31
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                                                                                       Douglas County, WI
                                                                                       2021CV000132



STATE OF WISCONSIN                     CIRCUIT COURT                     COUNTY OF DOUGLAS


Cheryl Shockley,                                             Case No. 2021-CV-____________

               Plaintiff,

v.

CreditBox.com LLC,
 d/b/a Credit Box, and
Clarity Services, Inc.,

               Defendants.


                                  SUMMONS
______________________________________________________________________________

                        THE STATE OF WISCONSIN
          TO EACH PERSON OR ENTITY NAMED ABOVE AS A DEFENDANT

You are hereby notified that the Plaintiff named above have filed a lawsuit or other legal action
against you. The complaint, which is attached, states the nature and basis of the legal action.

Within twenty (20) days of receiving this amended summons, you must respond with a written
answer to the complaint, as the term is used in chapter 802 of the Wisconsin Statutes. The court may
reject or disregard an answer that does not follow the requirements of the statutes. The answer must
be electronically filed, or sent or delivered to the court, whose address is,

Clerk of Circuit Court,
Douglas County Courthouse,
1313 Belknap Street
Superior, Wisconsin 54880,

and a copy sent or delivered to Plaintiff’s attorney, whose address is

Eric L. Crandall, Esq.,
Crandall Law Firm, SC,
421 West Second Street,
PO Box 27,
New Richmond, WI 54017


                                                -1-
   Case 2021CV000132
      Case:             DocumentDocument
             3:21-cv-00432-jdp   5    Filed
                                         #: 06-10-2021
                                            1-1 Filed:                Page 2Page
                                                                 07/05/21    of 21 9 of 31




You may have an attorney help or represent you.

If you do not provide a proper answer within twenty (20) days, the court may grant judgment against
you for the award of money or other legal action requested in the complaint, and you may lose your
right to object to anything that is or may be incorrect in the complaint. A judgment may be enforced
as provided by law. A judgment awarding money may become a lien against any real estate you own
now or in the future, and may also be enforced by garnishment or seizure of property.




DATED: June 10, 2021                                   Electronically signed by Eric Crandall
                                                      Eric L. Crandall, Esq.
                                                      CRANDALL LAW FIRM, SC
                                                      421 West Second Street
                                                      PO Box 27
                                                      New Richmond, WI 54017
                                                      715-243-9996 (p)
                                                      WisconsinConsumerLaw@frontier.com
                                                      Wis. Attorney Lic. No. 1001833

                                                      ATTORNEY FOR PLAINTIFF




                                                -2-
     Case 2021CV000132
       Case:             Document
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                                Document     06-10-2021
                                         #: 1-1   Filed:              Page 3
                                                                 07/05/21    of 21 10 of 31
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                                                                                       Clerk of Court
                                                                                       Douglas County, WI
STATE OF WISCONSIN                     CIRCUIT COURT                   COUNTY OF DOUGLAS
                                                                                 2021CV000132



Cheryl Shockley,                                             Case No. 2021-CV-____________

                Plaintiff,

v.

CreditBox.com LLC,
 d/b/a Credit Box, and
Clarity Services, Inc.,

                Defendants.


                  COMPLAINT AND DEMAND FOR JURY TRIAL
______________________________________________________________________________

                                      I. INTRODUCTION

1.      This is an action brought by Cheryl Shockley (“Shockley”) seeking redress for violations of

        the Fair Credit Reporting Act, 15 U.S.C. §1681, et seq. ( “FCRA”), committed by

        CreditBox.com LLC d/b/a Credit Box (“Credit Box”), and by Clarity Services,

        Inc.(“Clarity”), and for violations of Wisconsin’s Privacy statute, Wis. Stat. § 995.50,

        committed by Credit Box. Shockley seeks recovery of actual, statutory and punitive

        damages, her reasonably incurred costs and attorney fees, as well as declaratory and

        injunctive relief.

                                      II. JURISDICTION

2.      Jurisdiction of this court arises under Wis. Stat. § 421.201-203 (WCA jurisdiction) and Wis.

        Stat. § 801.04 (general), as well as 15 U.S.C. §1681p (FCRA).

3.      Venue is appropriate under Wis. Stat. § 421.401 (WCA venue) and Wis. Stat. § 801.50

        (venue).




                                                -3-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:              Page 4
                                                                  07/05/21    of 21 11 of 31
                                                                            Page




                                       III. PARTIES

Cheryl Shockley

4.       Plaintiff Cheryl Shockley is an individual residing in Douglas County, Wisconsin.

5.       While Shockley is of normal intelligence, she lacks advanced sophistication in the specific

         businesses of payday lending and credit reporting.

6.       Shockley was and is a “consumer” or “customer” as defined by Wis. Stat. § 421.301(17).

7.       Shockley was and is a “consumer” as defined by 15 U.S.C. § 1681a( c ).

8.       Shockley was and is a “person” as defined by Wis. Stat. § 990.01(26).

9.       Shockley was and is a “person” as that term is used in Wis. Stat. § 995.50, and is further

         entitled to the protections and remedies of Wis. Stat. § 995.50.

Credit Box

10.      Defendant Credit Box, is a foreign company engaged in making consumer loans at high

         interest, and collecting and receiving payments from consumers on those loans.

11.      Credit Box is also engaged in arranging and brokering high interest consumer loans to other

         lenders.

12.      Credit Box regularly charges and receives payment from other lenders for arranging or

         brokering those loans.

13.      Credit Box is also engaged in selling leads for prospective high interest consumer loans to

         other lenders.

14.      Credit Box regularly charges and receives payment from other lenders, for selling leads for

         prospective high interest consumer loans to other lenders

15.      Credit Box is a sophisticated business, operating throughout Wisconsin.

16.      Credit Box is licensed to conduct business in Wisconsin.


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      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:                Page 5
                                                                    07/05/21    of 21 12 of 31
                                                                              Page




17.      Credit Box is licensed to make high interest loans to Wisconsin consumers.

18.      Credit Box is a “merchant” as defined by Wis. Stat. § 421.301(25).

19.      Credit Box is a “person” as defined by Wis. Stat. § 990.01.

20.      Credit Box is also a “person” as that term is used in Wis. Stat. § 995.50, and is burdened by

         and subject to the remedies of Wis. Stat. § 995.50.

21.      Per the “Terms of Use” section of its website, Credit Box acknowledges that it regularly

         arranges or obtains consumer loans for those who apply for credit.

22.      Per the “Terms of Use” section of its website, Credit Box acknowledges that it regularly sells

         leads for prospective high interest consumer loans to other lenders.

23.      Credit Box is liable for the acts of its employees, agents, and independent contractors under

         theories of respondeat superior, agency, and vicarious liability.

24.      As a business conducting its affairs within the United States generally, and Wisconsin

         specifically, Credit Box is deemed to know what is lawful and what is unlawful under US

         and Wisconsin law. Barlow v. United States, 8 L. Ed. 728 (1833)(“ignorance of the law will

         not excuse any person, either civilly or criminally”); Atkins v. Parker, 472 U.S. 115, 130

         (1985)(“all citizens are presumptively charged with knowledge of the law”); Putnam v. Time

         Warner Cable of Southeastern Wisconsin, LP, 2002 WI 108, ¶ 13 & footnote 4, 255 Wis.2d

         447, 458 (Wis. 2002)(“Wisconsin has adopted the mistake of law doctrine”).

Clarity

25.      Clarity is a corporation incorporated under the laws of the state of Delaware.

26.      Clarity is a sophisticated business, operating throughout Wisconsin.

27.      Clarity is a “person” as defined by Wis. Stat. § 990.01.




                                                  -5-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:               Page 6
                                                                   07/05/21    of 21 13 of 31
                                                                             Page




28.      Clarity is also a “person” as that term is used in Wis. Stat. § 995.50, and is burdened by and

         subject to the remedies of Wis. Stat. § 995.50.

29.      Clarity is a “consumer reporting agency” under the FCRA.

30.      Clarity maintains consumer reports on thousands of Wisconsin residents, and sells those

         reports to various third persons, including Credit Box.

31.      Clarity is a consumer reporting agency as defined by §1681a(f) of the Act, and is regularly

         engaged in the business of assembling, evaluating, and dispersing information concerning

         consumers credit, to third parties.

32.      Clarity is a specialty nationwide consumer reporting agency as defined by §1681a (x) of the

         Act.

33.      Clarity is NOT a nationwide consumer reporting agency as defined by §1681a (p) of the Act.

34.      Clarity dispenses such consumer reports to third parties under contract for monetary

         compensation.

35.      Clarity is liable for the acts of its employees, agents, and independent contractors under

         theories of respondeat superior, agency, and vicarious liability.

36.      As a business conducting its affairs within the United States generally, and Wisconsin

         specifically, Clarity is deemed to know what is lawful and what is unlawful under US and

         Wisconsin law. Barlow v. United States, 8 L. Ed. 728 (1833)(“ignorance of the law will not

         excuse any person, either civilly or criminally”); Atkins v. Parker, 472 U.S. 115, 130

         (1985)(“all citizens are presumptively charged with knowledge of the law”); Putnam v. Time

         Warner Cable of Southeastern Wisconsin, LP, 2002 WI 108, ¶ 13 & footnote 4, 255 Wis.2d

         447, 458 (Wis. 2002)(“Wisconsin has adopted the mistake of law doctrine”).




                                                  -6-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:               Page 7
                                                                   07/05/21    of 21 14 of 31
                                                                             Page




                                  IV. FACTUAL ALLEGATIONS

INTRODUCTION TO LEAD GENERATION

37.      The “lead generation market” (“market”) is an adjunct to traditional sales and marketing

         programs. It allows a company to profit from or monetize those sales leads it cannot or does

         not want to convert into customers, via several methods.

38.      It has found purchase in the high interest, consumer payday loan market.

39.      In one method, payday lenders arrange or broker a loan, finding other lenders that are willing

         to make a short term high interest loan to a consumer, with the brokering lender receiving

         compensation for brokering the loan.

40.      In another method, the payday lender simply sells the “lead” to other prospective lenders,

         also for compensation.

41.      Payday lenders typically - although not always - disclose this practice to prospective

         consumers in the “terms of service” or “terms of use” sections of their websites.

42.      When a consumer seeks a loan from a payday lender, the consumer typically cannot proceed

         with the application unless they “check a box” on the lender’s website that affirms the

         consumer agrees to the lenders “terms of use.”

43.      These “terms of use” agreements often purport to bind the consumer to the lead generation

         practices of the payday lender.

44.      Typical lead generation practices include a consumer’s purported grant of perpetual rights

         to the payday lender. These perpetual grants often include perpetual arbitration clauses,

         perpetual rights to market or sell on the consumer’s loan application to other payday lenders,

         and most astonishingly of all a perpetual right to access a consumer’s credit report.

45.      However, many of these “terms of use” agreements are in artfully drawn.


                                                  -7-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:                Page 8
                                                                    07/05/21    of 21 15 of 31
                                                                              Page




46.      Oftentimes, payday lenders assume their “terms of use” agreements lawfully grant the lender

         the perpetual rights described above.

47.      In reality, many of these “terms of use” agreements deployed by American, foreign, and tribal

         payday lenders fall well short of the mark, and do not grant the perpetual rights the lenders

         think they have.

48.      Many of these “terms of use” agreements only grant the payday lender limited or no loan

         brokering rights.

49.      Many of these “terms of use” agreements only grant the payday lender limited or no credit

         report access rights.

50.      Many of these “terms of use” agreements only grant the payday lender limited or no right to

         sell on credit report access rights.

51.      On the otherwise of the equation, many of these “terms of use” agreements grant the payday

         lender rights that are so expansive that the grants become void for unconscionability.

52.      Many of these payday lenders improperly assume that the “terms of use” agreements

         deployed and adopted by other brokering or selling lenders are cogently and tightly drafted.

53.      Many of these payday lenders do not even review the “terms of use” agreements of the

         brokering or selling lenders before or after buying leads or buying credit report access rights.

54.      Many of these payday lenders do not consider their home state’s common law or statutory

         law limits on unconscionable contract terms.

55.      Many of these payday lenders do not consider the common law or statutory law limits on

         unconscionable contract terms provided by the states where the consumers live.




                                                   -8-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:                Page 9
                                                                    07/05/21    of 21 16 of 31
                                                                              Page




56.      Accordingly, many of these “terms of use” agreements employed by lenders are subject to

         unconscionability challenges, which if successful leave the “terms of use” agreements void.

57.      Many of these payday lenders believe that the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

         seq. (“FCRA”), and the Gramm Leach Bliley Act (“GLBA”), 15 U.S.C. § 6801 et. seq. do not

         allow a consumer to reject the sharing or sale if their PII or PFI, once the consumer e-signs

         the “terms of use” agreements.

58.      In reality, both the FCRA and the GLBA allow a consumer - even after he or she signs the

         “terms of use” agreement - to reject the sharing or sale of their PII and PFI.

59.      To make matters worse, most payday lenders do not save records of their transactions in the

         lead generation marketplace, so these lenders cannot know what rights they may or may not

         have had in relation to any particular consumer.

60.      To make matters even worse, many payday lenders do not maintain the licenses and

         registrations needed to broker these types of loans, to make these types of loans, or to sell on

         leads for these types of loans.

61.      Such unlicensed activity exposes the lender to a consumer’s claim, to a court or arbitrator’s

         ruling, or to a jury finding that the initial agreement between the consumer and the initial

         payday lender is void, thus rendering any and all later sales of the lead also void, thus

         rendering any and all later sales of the consumers PII and PFI void and thus unlawful, and

         thus rendering any and all later credit report pulls unlawful.

62.      The Federal Trade Commission (“FTC”) is one federal agency that polices this market.




                                                   -9-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:               Page 10
                                                                   07/05/21     of 2117 of 31
                                                                             Page




63.      For example, LeapLab, LLC sold the PII and PFI of American consumers to third parties,

         who then used the information to unlawfully debit consumers’s bank accounts. The FTC

         brought an enforcement action which in essence put LeapLabs out of business. FTC v.

         SiteSearch Corporation, d/b/a LeapLabs, No. 2:14-CV-02750 (D. Ax. Dec. 22, 2014).

64.      Other enforcement actions include FTC v. Blue Global, LLC, No. CV17-02117 (D. Az. July

         24, 2017)(defendant enjoined from selling or sharing payday loan leads on any of its 38

         websites, where it had previously sold the PII and PFI from 15 million loan applications

         receiving up to $200.00 per loan application, to parties not in the payday loan business);

         FTC v. Sequoia One, LLC, No. 2:15-CV-01512 (D. Nev. Nov. 2, 2016)(defendant enjoined

         from selling or sharing payday loan leads).

65.      The Consumer Financial Protection Bureau (“CFPB”) is another federal agency that polices

         this market.

66.      Enforcement actions brought by the CFPB include In re Zero Parallel, LLC, No. 2017-

         CFPB-0017( Sept. 6, 2017)(enjoining sale of consumer leads - containing PII and PFI of

         thousands of American consumers - in states that disallow payday lending or payday loan

         brokering and imposing $100,000.00 penalty).

67.      Against this backdrop, plaintiff asserts the claims at bar, seeking damages to be awarded by

         a jury and equitable relief to be ordered by the Court, as further described below.

Claims of Cheryl Shockley

68.      At all relevant times, Cheryl Shockley was in need of money to pay for her basic needs,

         including food, clothing, housing, home furnishings, utilities, and to pay existing debts. Her

         income at all relevant times was limited, and she had few, if any, options for credit.




                                                 -10-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:                Page 11
                                                                    07/05/21     of 2118 of 31
                                                                              Page




69.      Given her lack of choice of lenders, Cheryl Shockley approached various short term, high

         interest lenders to arrange or obtain short term loans.

70.      Cheryl Shockley also began obtaining copies of her consumer credit reports and files as

         maintained by both nationwide and speciality credit reporting agencies, and has retained the

         services of at least one credit monitoring service.

71.      In a letter dated and mailed in March of 2021, Cheryl Shockley ordered and requested a copy

         of her consumer credit report from Clarity Services, Inc.

72.      The letter ordering Cheryl Shockley’s consumer credit report and file requested - to the

         fullest extent allowed or required by law - identification of the sources of the information

         in the report, including the true, correct and accurate legal name, true, correct and accurate

         trade name, the true, correct and accurate US mail, e-mail and website addresses, and true,

         correct and accurate phone number of all such persons and companies that furnished

         information to Clarity, and what information they furnished about Sarah Haas.

73.      The letter ordering Cheryl Shockley’s consumer credit report and file requested - to the

         fullest extent allowed or required by law - identification of each and every person or

         company that accessed any information contained in the report in the past year, requested

         identification of the true, correct and accurate legal name, the true correct and accurate trade

         name, the true correct and accurate US mail, e-mail and website addresses, requested

         identification of the true correct and accurate phone number of all such persons and

         companies, and requested identification of what information Clarity shared from Sarah

         Haas’ consumer credit report and file.

74.      The letter ordering Cheryl Shockley’s consumer credit report and file requested disclosure

         of Sarah Haas’ credit score as maintained by Clarity.


                                                  -11-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:               Page 12
                                                                   07/05/21     of 2119 of 31
                                                                             Page




75.      The letter ordering Cheryl Shockley’s consumer credit report and file was sent to the mailing

         address that Clarity designated as the address to send such a request, and was received on

         March 11, 2021. Clarity designated that mailing address on its website as required by 12

         C.F.R. § 1022.137 (a)(1)(i - iii).

77.      On March 18, 2021, Clarity mailed a copy of Cheryl Shockley’ consumer credit report and

         file to Cheryl Shockley.

78.      The information assembled by Clarity constitutes a “consumer report” under the FCRA, as

         the information is used for and bears “on a consumer’s credit worthiness, credit standing,

         credit capacity, character, general reputation personal characteristics or mode of living ...”

         15 U.S.C. § 1681a(d)(1).

79.      The information assembled by Clarity constitutes a “consumer report” under the FCRA, as

         the information is assembled and is used “for the purpose of furnishing consumer reports to

         third parties ...” 15 U.S.C. § 1681a(d)(1).

80.      Clarity is a “consumer reporting agency” under the FCRA, as “for monetary fees” Clarity

         “regularly engages in ... the practice of assembling or evaluating consumer credit information

         or other information on consumers ...” 15 U.S.C. § 1681a(f).

81.      The information about Cheryl Shockley, held by and released by Clarity to Cheryl Shockley,

         constituted a “consumer report” under the FCRA. 15 U.S.C. § 1681a(d)(1).

82.      The information about Cheryl Shockley, requested by and obtained by various entities

         including Credit Box, constituted a “consumer report” under the FCRA. 15 U.S.C. §

         1681a(d)(1).




                                                 -12-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:               Page 13
                                                                   07/05/21     of 2120 of 31
                                                                             Page




83.      Clarity creates, generates and produces consumer credit reports and files on a regular basis,

         and derives the information in these reports from large amounts of information it collects and

         maintains on individuals like Cheryl Shockley in a data base called a consumer file.

84.      For example, the consumer credit report produced by Clarity on March 18, 2021 and mailed

         to Shockley runs 50 pages, and is full of vast amounts of personal identifiable information

         (“PII”) and personal financial information (“PFI”), including but not limited to her name,

         address, and social security number, as well as copious amount of her financial transaction

         history running over the course of many years.

85.      When Cheryl Shockley obtained her Clarity consumer credit report, she learned that Credit

         Box had accessed her Clarity consumer credit report and file - either in full or in part - 2

         times in July and August of 2019, in spite of the fact that she had never applied for a loan

         from Credit Box or authorised Credit Box to access her consumer credit report and file.

86.      Each time Credit Box accessed Cheryl Shockley’ Clarity consumer credit report and file, it

         obtained her personal identifiable information (“PII”) and personal financial information

         (“PFI”), including but not limited to her name, address, and social security number, as well

         as her credit score and financial transaction history.

87.      After receiving Cheryl Shockley’ PII and PFI from Clarity, Credit Box forwarded Cheryl

         Shockley’ PII and PFI to various high interest lenders.

88.      When Credit Box forwarded Cheryl Shockley’ PII and PFI to various high interest lenders,

         it did so in an effort to arrange or obtain a loan for Cheryl Shockley with these lenders and

         others, for which Credit Box was compensated.




                                                  -13-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:               Page 14
                                                                   07/05/21     of 2121 of 31
                                                                             Page




89.      When Credit Box forwarded Cheryl Shockley’ PII and PFI to various high interest lenders,

         it did so to earn compensation for selling a lead, for which Credit Box was compensated.

90.      Credit Box received compensation from these high interest lenders for forwarding Cheryl

         Shockley’ PII and PFI.

91.      When Credit Box forwarded Cheryl Shockley’ PII and PFI to various lenders, it received

         money solely for referring Cheryl Shockley to those lenders for the purpose of an extension

         of credit.

92.      Shockley’ agent wrote Credit Box on May 10, 2021, requesting among other things that

         Credit Box provide information and documentation about its activities and accounts relating

         to Cheryl Shockley.

93.      Credit Box did not respond.

94.      Cheryl Shockley’ consumer credit report, as well as information contained within it, was

         forwarded by Credit Box - for compensation - to unknown third parties.

95.      Cheryl Shockley’s consumer credit report, as well as information contained within it, was

         forwarded by these unknown third parties to other parties.

96.      Clarity is also required by state and federal law including the FCRA to adopt and maintain

         procedures designed to both protect consumer credit information and to limit its obtainment

         as well as its dissemination to proper parties.

97.      Clarity has not adopted nor maintained procedures adequately designed to both protect

         consumer credit information and to limit its obtainment as well as its dissemination to proper

         parties.




                                                  -14-
      Case 2021CV000132
        Case:             Document
               3:21-cv-00432-jdp   5    Filed
                                 Document     06-10-2021
                                          #: 1-1   Filed:              Page 15
                                                                  07/05/21     of 2122 of 31
                                                                            Page




98.      Clarity is prevented by state and federal law including the FCRA from releasing Cheryl

         Shockley’ consumer credit report and file to third parties absent a permissible purpose under

         the FCRA, 15 U.S.C. § 1681b(a)(1 through 6).

99.      None of the circumstances listed in 15 U.S.C. § 1681b(a)(1 through 6) are present here, as,

         Cheryl Shockley gave no “written instructions” to Clarity to release her credit report, there

         is no “credit transaction” or “credit application” initiated by Cheryl Shockley, and no

         “business transaction” was initiated by Cheryl Shockley.

100.     The initiation of a “credit transaction” or “credit application” or “business transaction” by

         a third party is not a permissible purpose under the FCRA.

101.     Credit Box is required by the FCRA to adopt and maintain procedures designed to limit and

         restrict its access to consumer credit information, except where a permissible purpose to

         access the information exists. 15 U.S.C. § 1681b(f).

102.     Contrary to its duties under 15 U.S.C. § 1681b(f), Credit Box unlawfully retrieved a

         complete copy of Cheryl Shockley’ consumer credit report and file as maintained by Clarity,

         and did so 2 times in July and August of 2019.

103.     The referenced inquiries have become a permanent component of Cheryl Shockley’ credit

         report and is reported to those who ask to review the credit history of Cheryl Shockley.

104.     Credit Box agreed and represented in its agreements with the various credit reporting

         agencies that Credit Box would request and use consumer reports which were obtained from

         said agencies only for purposes which are lawful under the FCRA as defined under §1681b.

105.     Credit Box is and was required by §§ 1681b, 1681n, and 1681q to refrain from obtaining

         consumer reports from credit reporting agencies under false pretenses, or without a legal

         basis.


                                                 -15-
   Case 2021CV000132
     Case:             Document
            3:21-cv-00432-jdp   5    Filed
                              Document     06-10-2021
                                       #: 1-1   Filed:                Page 16
                                                                 07/05/21     of 2123 of 31
                                                                           Page




106.   At no time material hereto did Cheryl Shockley ever have a relationship with Credit Box, or

       Clarity of the kind specified under §1681b(a)(3)(A) - (F).

107.   Cheryl Shockley has never given written instructions to Credit Box or Clarity to obtain

       and/or release to Credit Box a consumer report of which Cheryl Shockley was the subject.

108.   Neither Credit Box, nor Clarity have ever been ordered by a court of competent jurisdiction

       to obtain a copy of Cheryl Shockley’ consumer credit report and file pursuant to § 1681b(1).

109.   Credit Box and Clarity each have an affirmative duty to follow reasonable procedures,

       including those that would prevent the impermissible accessing of consumer reports.

110.   Reasonable procedures for users include restricting the ability of Credit Box and its agents,

       affiliates and partners to obtain consumer reports on consumers for any impermissible

       purpose, and include verification by Clarity of any “written instruction” from Shockley

       purporting to direct Clarity to release her consumer credit report to Credit Box.

111.   Clarity did not employ reasonable procedures as to Shockley’s PII and PFI and the

       information in her consumer file, as Clarity released Shockley’s PII, PFI and her consumer

       credit file to Credit Box - solely based on Credit Box’s promise that it had a permissible

       purpose to obtain the information, and without viewing any “written instruction” from

       Shockley as is required by the FCRA for such a release of consumer data and consumer

       information.

112.   Credit Box and Clarity’s illegal, unlawful, and impermissible creation, dissemination,

       acquisition and / or redisclosure of Cheryl Shockley’ consumer credit report and file violates

       Cheryl Shockley’ privacy rights under the FCRA, and have have impaired Cheryl Shockley’

       future access to credit.




                                               -16-
   Case 2021CV000132
     Case:             Document
            3:21-cv-00432-jdp   5    Filed
                              Document     06-10-2021
                                       #: 1-1   Filed:                Page 17
                                                                 07/05/21     of 2124 of 31
                                                                           Page




113.   As a result of the acts alleged above, Cheryl Shockley has suffered and is entitled to recover

       damages and equitable relief.

                                   V. CAUSES OF ACTION


COUNT 1. FAIR CREDIT REPORTING ACT

114.   Cheryl Shockley incorporates by reference all the foregoing paragraphs.

115.   Credit Box willfully and/or negligently violated provisions of the Fair Credit Reporting Act.

       Credit Box’s violations include, but are not limited to the following:


       (a)    Credit Box violated 15 U.S.C. §1681b by willfully and/or negligently
              accessing Cheryl Shockley’ consumer credit report and file without
              a permissible purpose under the Act.

116.   Clarity willfully and/or negligently violated provisions of the Fair Credit Reporting Act.

       Clarity’s violations include, but are not limited to the following:

       (a)    Clarity violated 15 U.S.C. §1681a by willfully and/or negligently
              releasing information from Cheryl Shockley’ consumer credit file and
              her consumer credit report to Credit Box, where Credit Box had no
              permissible purpose under the FCRA to access or receive such
              information.

117.   As a result of the above violations of the FCRA, Credit Box is liable to Cheryl Shockley in

       the sum of Cheryl Shockley’ actual damages, statutory punitive damages, costs,

       disbursements, and reasonable attorney's fees.

118.   As a result of the above violations of the FCRA, Clarity is liable to Cheryl Shockley in the

       sum of Cheryl Shockley’ actual damages, statutory punitive damages, costs, disbursements,

       and reasonable attorney's fees.




                                               -17-
   Case 2021CV000132
     Case:             Document
            3:21-cv-00432-jdp   5    Filed
                              Document     06-10-2021
                                       #: 1-1   Filed:                Page 18
                                                                 07/05/21     of 2125 of 31
                                                                           Page




COUNT 2.      WISCONSIN’S PRIVACY STATUTE

119.   Cheryl Shockley incorporates by reference all the foregoing paragraphs.

120.   The information concerning Cheryl Shockley, as contained in the consumer credit report and

       file maintained by Clarity, includes non public PII such as Cheryl Shockley’ social security

       number, and further includes non public personal financial information (“PFI”) such as her

       banking information, and her credit score.

121.   The information concerning Cheryl Shockley, as contained in the consumer credit report and

       file maintained by Clarity, is private, and is of a highly personal nature.

122.   Similar information concerning any reasonable person of ordinary sensibilities, would also

       be considered private and of a highly personal nature.

123.   The unlawful accessing of that information by Credit Box is highly offensive to Cheryl

       Shockley.

124.   The unlawful re disclosure of that information by Credit Box is highly offensive to Cheryl

       Shockley.

125.   Any unlawful accessing and re disclosure of similar information of any reasonable person

       of ordinary sensibilities, would be highly offensive to any such person.

126.   Credit Box acted unreasonably and recklessly in accessing, as well as subsequently re

       disclosing, Cheryl Shockley’ information including PII and PFI about Cheryl Shockley.

127.   While Cheryl Shockley’ PII and PFI were not disclosed to the general public, Cheryl

       Shockley’ PII and PFI were disclosed to an audience that includes companies that Cheryl

       Shockley has never contracted with, companies that Cheryl Shockley has never authorized

       to receive such information, and companies that Cheryl Shockley has no control over

       including potentially companies based and operating outside the United States and


                                                -18-
   Case 2021CV000132
     Case:             Document
            3:21-cv-00432-jdp   5    Filed
                              Document     06-10-2021
                                       #: 1-1   Filed:                 Page 19
                                                                  07/05/21     of 2126 of 31
                                                                            Page




       Wisconsin, and outside the jurisdiction of United States and Wisconsin courts.

128.   Credit Box willfully and/or recklessly violated Wis. Stat. § 995.50(2)(a & c), including its

       prohibition on accessing and then re disclosing Cheryl Shockley’ PII and PFI.

129.   As a result of the above violations of Wis. Stat. § 995.50, Credit Box is liable to Cheryl

       Shockley in the sum of Cheryl Shockley’ actual damages, costs, disbursements, and

       reasonable attorney's fees, along with any appropriate injunctive relief.

COUNT 3.      DECLARATORY AND INJUNCTIVE RELIEF

130.   Cheryl Shockley repeats, re alleges, and incorporates by reference all paragraphs above.

131.   A bona fide dispute exists between Cheryl Shockley and Credit Box with regard to Credit

       Box’s violations of Cheryl Shockley’ privacy rights under Wis. Stat. § 995.50.

132.   Credit Box’s violations of Cheryl Shockley’ privacy rights under State and Federal law are

       material, as these violations will effect Cheryl Shockley’ credit score, her sense of peace and

       security, and will likely expose Cheryl Shockley to identify theft.

133.   The issuance of a declaratory judgement by this court would serve to identify with specificity

       that Credit Box has violated Cheryl Shockley’ legal rights under Wis. Stat. § 995.50.

134.   Cheryl Shockley is entitled to a determination that Credit Box has violated Wis. Stat. §

       995.50.

135.   Pursuant to Wis. Stat. § 995.50(1)(a), Cheryl Shockley is entitled to an order permanently

       enjoining Credit Box from further re disclosing Cheryl Shockley’ PII and PFI, an order

       directing Credit Box to destroy the PII and PFI it currently holds, and an order directing

       Credit Box to disclose those parties to whom Credit Box has sold or shared or redisclosed

       Cheryl Shockley’ PII and PFI.

136.   Cheryl Shockley is also entitled to any and all corresponding injunctive relief.


                                                -19-
   Case 2021CV000132
     Case:             Document
            3:21-cv-00432-jdp   5    Filed
                              Document     06-10-2021
                                       #: 1-1   Filed:              Page 20
                                                               07/05/21     of 2127 of 31
                                                                         Page




                                VI. REQUEST FOR RELIEF

137.   WHEREFORE, Cheryl Shockley respectfully requests that Judgment be entered as follows:

Count 1 - as to Credit Box:

       (a)    actual damages;
       (b)    punitive damages;
       (c)    statutory damages of $1,000.00 per violation;
       (d)    costs and reasonable attorney's fees; and
       (e)    such other and further relief as the court deems just and equitable.

Count 1 - as to Clarity:

       (a)    actual damages;
       (b)    punitive damages;
       (c)    statutory damages of $1,000.00 per violation;
       (d)    costs and reasonable attorney's fees; and
       (e)    such other and further relief as the court deems just and equitable.
Count 2 - as to Credit Box:
       (a)    actual damages;
       (b)    punitive damages;
       (c)    declaratory and injunctive relief:
       (d)    costs and reasonable attorney's fees; and
       (e)    such other and further relief as the court deems just and equitable.
Count 3 - as to Credit Box:
       (a)    declaratory and injunctive relief:
       (b)    costs and reasonable attorney's fees; and
       (c)    such other and further relief as the court deems just and equitable.




                                               -20-
   Case 2021CV000132
     Case:             Document
            3:21-cv-00432-jdp   5    Filed
                              Document     06-10-2021
                                       #: 1-1   Filed:           Page 21
                                                            07/05/21     of 2128 of 31
                                                                      Page




                         VII. DEMAND FOR TRIAL BY JURY


138.   Cheryl Shockley hereby demands that, to the extent provided by the United States and

       Wisconsin Constitutions, United States and Wisconsin Statutes, and United States and

       Wisconsin Common Law, these claims be determined by a jury of her peers.




Dated: June 10, 2021                               electronically signed by Eric Crandall
                                                  Eric Leighton Crandall, Esq.
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                                                  New Richmond, WI 54017
                                                  715-243-9996 (p)
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                                                  ATTORNEY FOR PLAINTIFF
                                                  CHERYL SHOCKLEY




                                           -21-
      Case 2021CV000132
        Case:             DocumentDocument
               3:21-cv-00432-jdp   6     Filed 06-21-2021
                                           #: 1-1   Filed:                    Page 1
                                                                         07/05/21    of 1 29 of 31
                                                                                   Page
                                                                                                 FILED
                                                                                                 06-21-2021
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                                                                                                 2021CV000132




 STATE OF WISCONSIN                           CIRCUIT COURT                    COUNTY OF DOUGLAS


 Cheryl Shockley,                                                    Case No. 2021-CV-132

                Plaintiff,

 v.

 CreditBox.com LLC,
  d/b/a Credit Box, and
 Clarity Services, Inc.,

                Defendants.


                                    AFFIDAVIT OF SERVICE


 STATE OF WISCONSIN                     )
                                        ) ss.
 COUNTY OF                              )

. {YJV/J /<JtCJta,hV} / ,a resident of the                state of Wisconsin, and over the age of 18, being

 duly sworn under oath, says that on June / LJI-.A.021,@he PERSONALLY served file stamped

 copies of the summons and complaint, and the electronic filing notice, on Defendant CreditBox.com

 LLC, by leaving copies of these documents with           JtSSlf mH ~~T Corporation System, 301 South
 Bedford Street, Suite 1, Madison, WI, the person desi,..,_....__              dant as the person/entity to

 receive service of process.


 Sub~~~ed and sworn to before me



~~lfia(}17,r;Jr•·•<.
 this ~ay of June, 2021                       .



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                                                                                                           07/05/21    of 1 30 of 31
                                                                                                                     Page
STATE OF WISCONSIN                                CIRCUIT COURT                                 DOUGLAS COUNTY

Cheryl Shockley vs. CreditBox.com LLC et al                                                 Electronic Notice
                                                                                             Status Change
                                                                                         Case No: 2021CV000132



                                CLARITY SERVICES, INC.
                                PO BOX 5717
                                CLEARWATER FL 33758



                     For 2021CV000132, the electronic notice preference for David J. Turek, Wisconsin
                     attorney for CreditBox.com LLC, has changed.

                     David J. Turek has registered as an electronic notice party and has agreed to file any
                     documents and receive all communications from the court for this case electronically.
                     You will no longer need to provide traditional paper documents to this party. You still
                     need to provide traditional paper documents to the court and any other parties who are
                     not electronically filing.

                     If you have any questions regarding this notice, please contact our office at
                     715-395-1203.



                                                                                 Douglas County Circuit Court
                                                                                 Date: July 1, 2021




GF-208(CCAP), 03/2010 Electronic Notice Status Change
                                              This form shall not be modified. It may be supplemented with additional material.
Case 2021CV000132
  Case:             Document
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                           Document     06-30-2021
                                    #: 1-1   Filed:            Page 1
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                                                                              Clerk of Court
                                                                              Douglas County, WI
                                                                              2021CV000132
STATE OF WISCONSIN           CIRCUIT COURT           DOUGLAS COUNTY


CHERYL SHOCKLEY,

              Plaintiff,
vs.                                               Case No. 21-CV-132

CREDITBOX.COM, LLC,
d/b/a CREDIT BOX, and
CLARITY SERVICES, INC.,

              Defendants.


                            NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that David J. Turek of Gass Turek LLC appears as

counsel for Defendant Creditbox.com, LLC in this action. A copy of all papers in this

action should be served upon the undersigned at the address stated below.

       Dated this 30th day of June, 2021.

                                            GASS TUREK LLC
                                            Attorneys for Defendant Creditbox.com,
                                            LLC

                                            Electronically signed by David J. Turek
                                            David J. Turek, SBN 1035356
                                            turek@gassturek.com
Address
241 North Broadway, Suite 300
Milwaukee, WI 53202
Phone: 414-224-3445
Fax: 414-224-6116
